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                     IN THE UNITED STATES DISTRICT COURT
                  FOR THE EASTERN DISTRICT OF PENNSYLVANIA

 __________________________________
 H.T., individually and on behalf of a minor   )
 M.H., L.H., individually and on behalf of a   )
 minor R.H., M.B. individually and on          )
 behalf of a minor M.B., K.S., individually    )
 and on behalf of a minor, B.S., A.B. and      )
 M.B., individually and on behalf of a         )
 minor, E.B., K.C. and N.S., individually      )
 and on behalf of a minor, E.S., K.C. and      )
 N.S., individually and on behalf of a         )
 minor, E.S., K.C. and N.S., individually      )
 and on behalf of a minor, T.S., J.O.,         )
 individually and on behalf of a minor,        )
 X.O., J.O., individually and on behalf of a   )
 minor, C.O., G.H., individually and on        )
 behalf of a minor, M.H., C.G. and C.G.,       )
 individually and on behalf of a minor,        )
 N.G., C.G. and C.G., individually and         )
 on behalf of a minor, A.G., J.G.,             )
individually and on behalf of a minor, J.G.,   )
J.U. individually and on behalf of C.U.1        )
                                 )
                                 )                    Civ. No. ____________________
                    Plaintiffs,  )
                                 )
                                v.
CENTRAL BUCKS SCHOOL DISTRICT )

                        Defendant.             )
__________________________________             )

                                   VERIFIED COMPLAINT

       1.      Defendant is a public school district pursuant to the Pennsylvania Public School

Code of 1949, 24 P.S. § 101 et. seq.


1
        Initials are being utilized to protect the identity of each of the students and their parents
as universal masking is a very contentious issue in the District. Threats have been made and last
weekend there were reports of Proud Boy “patriots” being in the District for the August 25, 2021
School Board meeting. All Plaintiffs reside in the District and attend District schools. Thus,
Plaintiffs need to be as anonymous as possible to protect themselves in the community.
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       2.      Defendant currently refuses to provide reasonable accommodations to students

with disabilities by refusing to implement a health and safety plan designed in accordance with

current federal, state, and local guidance.

       3.      Defendant’s refusal to provide reasonable accommodations in the form of an

appropriate health and safety plan puts Plaintiffs (namely, children with disabilities) at risk of

death and debilitating illness from COVID-19. Defendant’s refusal to provide reasonable

accommodations for students with disabilities thereby excludes Plaintiffs from their education.

       4.      Plaintiffs accordingly bring this action for both injunctive relief and prevailing

party fees to remedy Defendant’s violations of Title II of the Americans with Disabilities Act

(“ADA”) and Section 504 of the Rehabilitation Act (“Section 504”).

                                 JURISDICTION AND VENUE
       5.      This Court has subject matter jurisdiction over the ADA Title II and Section 504

of the Rehabilitation Act claims in this case pursuant to 28 U.S.C. § 1331. Plaintiffs’ claims

arise under the laws of the United States and the relief sought herein is within the power of the

Court to grant. See 29 U.S.C. § 701, et seq. and 20 U.S.C. § 1681, et seq.

       6.      Venue is proper in this Court pursuant to 28 U.S.C. § 1391(b) because the events

giving rise to the claims set forth herein occurred within the jurisdiction of this Court.

       7.      The Court has personal jurisdiction over Central Bucks School District, which is a

public school district in Doylestown, Pennsylvania.

                                              PARTIES

M.H. in Furlong, Pennsylvania

       8.      H.T., parent, of M.H. bring this action on behalf of M.H., a 15-year-old student

who attends Lenape Middle School.




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       9.       M.H. is a child diagnosed with two forms of cancer: Medullablastoma, a brain

tumor with metastasis to spine, and Osteosarcoma of sacrum, a bone tumor.

       10.      M.H. has been treated with chemotherapy, stem cell therapy, and radiation. She

has undergone a three-day-intensive surgery which took over six months to recover.

       11.      Due to M.H.’s cancers, treatments, and surgeries, she is immunocompromised.

       12.      Additionally, M.H. suffers from side effects including, but not limited to, loss of

hair, non-functioning pituitary gland ( does not produce GH and FSH), niastagmus and pupil

dilatation, intolerance to heat imbalance, mental delay, brain induced ADHD, depression,

scarring in right ventricle of heart from port and blood infections, nodual hypoplasia of liver

from chemotherapy, partial right lungdectomy, seizures, syncope, medicinal allergies, feeding

disorder, bilateral neuropathy of lower legs and feet, 50% bilateral hearing loss and partial

paralysis.

R.H. in Doylestown, Pennsylvania

       13.      L.H., parent of R.H., brings this action on behalf of R.H., a twelve-year-old

student who attends Lenape Middle School.

       14.      R.H. is a child diagnosed with Type 1 Diabetes. Type 1 Diabetes is an

autoimmune disorder where the patient’s pancreas stops working.

       15.      When R.H. gets any sickness, he must go on “sick day rules” which means that he

must stay home to monitor his illness, check for ketones every two hours, receive extra insulin to

regulate his blooks sugar, and drink a lot of liquids.

       16.      Due to R.H.’s disease, he is more vulnerable to severe side effects or death from

COVID – 19.

       17.      R.H. has a Section 504 Plan for his Type 1 Diabetes.




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M.B. in Chalfont, Pennsylvania

       18.     M.B., parent of M.B., brings this action on behalf of M.B., an eleven-year-old

student who is a rising 6th grader at Pine Run Elementary School.

       19.     M.B. is a child diagnosed with Epilepsy, ADHD, and a learning disability.

       20.     M.B. is currently scheduled for a surgical procedure in September 2021 and

exposure to COVID – 19 could impact her ability to have surgery or seek subsequent treatment

for her medication resistant epilepsy.

       21.     M.B. has an educational disability of Other Health Impairment and has an IEP.

Due to her Other Health Impairment, she requires in-person instruction. M.B. often requires

small group instruction and 1:1 work with aides.

       22.     Due to M.B.’s disabilities, she is more vulnerable to severe side effects, including

uncontrollable seizures and high fevers, or death from COVID – 19.

B.S. in Doylestown, Pennsylvania

       23.     K.S., parent of B.S., brings this action on behalf of B.S., a nine-year-old student

who is a rising 4th grader at Cold Spring Elementary School.

       24.     B.S. is a non-verbal child diagnosed with intellectual disability, recurrent

respiratory infections, and hypotonia due to MECP2 Duplication Syndrome, a rare neurogenetic

disorder caused by a duplication of the MECP2 gene on the X chromosome. Duplication of the

MECP2 gene leads to an abundance of protein.

       25.     Due to B.S.’s disabilities, he is more vulnerable to severe side effects or death

from COVID – 19.




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        26.     The District’s failure to implement reasonable accommodation in the form of the

recommended health and safety measures places B.S. at a high risk for severe illness or death

from Covid-19.

        27.     B.S. has an IEP for life skills placement and receives occupational therapy,

physical therapy, and speech and language therapy.

E.B. in Mechanicsville, Pennsylvania

        28.     A.B. and M.B., parents of E.B., bring this action on behalf of E.B, a twelve-year-

old student who is a rising 7th grader at Holicong Middle School.

        29.     E.B. is diagnosed with ADHD and has executive functioning deficits.

        30.     E.B. has a Section 504 Plan because of her ADHD.

        31.     E.B. requires in-person instruction due to her ADHD as she cannot access her

education virtually.

C.U. in Chalfont, Pennsylvania

        32.     J.U., parent of C.U., brings this action on behalf of C.U., a ten-year-old student

who is a rising 5th grader at Butler Elementary School.

        33.     C.U. has a Section 504 Plan for ADHD and anxiety.

        34.     C.U.’s anxiety significantly worsened during the pandemic due to fears. C.U. is

on medication to manage his anxiety.

        35.     C.U. requires in-person instruction as he is unable to access his education

virtually.

E.S. in Doylestown, Pennsylvania

        36.     K.C. and N.S., parents of E.S., bring this action on behalf of E.S., a ten-year-old

student who is a rising 5th grader at Buckingham Elementary School.




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        37.     E.S. is diagnosed with ADHD and has a Section 504 Plan.

        38.     E.S. requires in-person instruction as she is unable to access her education

virtually due to her inattention and executive functioning deficits.

E.S. in Doylestown, Pennsylvania

        39.     K.C. and N.S., parents of E.S., bring this action on behalf of E.S, an eight-year-

old student who is a rising 3rd grader at Buckingham Elementary.

        40.     E.S. is suffering from an undiagnosed medical condition that is causing irregular

heart rates and episodes of sudden onset of shortness of breath. The last time E.S. had a fever

she was sent to the hospital because her resting heart rate was dangerously high.

T.S. in Doylestown, Pennsylvania

        41.     K.C. and N.S., parents of T.S., bring this action on behalf of T.S., a six-year-old

student who is a rising kindergartener at Buckingham Elementary School.

        42.     T.S. has asthma and uses albuterol and budesonide inhaled treatments for her

asthma flare ups.

        43.     T.S.’s asthma flares when she has a respiratory illness, and it takes weeks for her

to return to baseline.

X.O. in Doylestown, PA

        44.     J.O., parent of X.O., brings this action on behalf of J.O., an eleven-year-old

student who is a rising 6th grader at Cold Springs Elementary School.

        45.     X.O. is diagnosed with ADHD and has a Section 504 Plan.

        46.     Because of X.O.’s executive functioning deficits, he requires in-person

instruction.




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C.O. in Doylestown, Pennsylvania

       47.     J.O., parent of C.O., bring this action on behalf of C.O., a nine-year-old student,

who is a rising 4th grader at Cold Springs Elementary School.

       48.     C.O. is diagnosed with ADHD and has a Section 504 Plan.

       49.     Because of C.O.’s executive functioning deficits, he requires in-person

instruction.

M.H. in Point Pleasant, Pennsylvania

       50.     G.H., parent of M.H., brings this action on behalf of M.H., a ten-year-old student

who is a rising 5th grader at Jamison Elementary School.

       51.     M.H. is diagnosed with Autism Spectrum Disorder and ADHD.

       52.     M.H. has an IEP for Autism and Other Health Impairment and is in the District’s

autism support program at Jamison Elementary School.

N.G. in Jamison, Pennsylvania

       53.     C.G. and C.G., parent of N.G., bring this action on behalf of N.G., a six-year-old

student who is a rising 1st grader at Warwick Elementary School.

       54.     N.G. is diagnosed with Trisomy-21 also known as Down Syndrome.

       55.     Due to Down Syndrome, N.G. is at risk medically of contracting COVID-19.

       56.     N.G. has low tone and her thyroid levels are monitored on an on-going basis.

       57.     N.G. has an IEP for Intellectual Disability and requires in-person instruction in

order to receive an appropriate education.

A.G. in Jamison, Pennsylvania

       58.     C.G. and C.G., parents of A.G., bring this action on behalf of A.G., a ten-year-old

student who is a rising 5th grader at Warwick Elementary School.




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       59.     A.G. is diagnosed with Cystic Fibrosis and has a Section 504 Plan.

       60.     Due to Cystic Fibrosis, A.G. has pulmonary issues and digestive issues.

       61.     A.G. is at high risk of contracting COVID-19 which would risk a lung infection

and hospitalization.

J.G. in Doylestown, Pennsylvania

       62.     J.G., parents of J.G., bring this action on behalf of J.G., a nine-year-old student

who is a rising 4th grader at Cold Springs Elementary School.

       63.     J.G. is diagnosed with ADHD and has a Section 504 Plan.

       64.     Because of J.G.’s executive functioning deficits, he requires in-person instruction

       65.     As was known to Defendant at all times relevant to this action, all Plaintiffs are

qualified individuals with a disability under Section 504 of the Rehabilitation Acts of 1972 and

1974 (“Section 504”) and under Title II of the Americans with Disabilities Act (“ADA”).

       66.     Defendant is a public school district with an address of 20 Welden Drive,

Doylestown, Pennsylvania 19355. As a public school district, Defendant is, under Title III of the

ADA, a public accommodation. See 42 U.S.C. § 12181.

                                                  FACTS

       67.     Plaintiffs are each qualified individuals with a disability under Section 504 and

the ADA.

       68.     For each student who has either a Section 504 Plan or IEP, Defendant has

acknowledged that that student is a qualified individual with a disability.

       69.     On July 27, 2021, the School Board approved a health and safety plan for the

2021-2022 school year that failed to include any COVID-19 mitigation measures. The Board-

approved health and safety plan includes a provision that masking for all staff and students is




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optional. See Exhibit A, The District’s health and safety plan dated July 27, 2021.

        70.     The July 27, 2021 health and safety plan also fails to provide for required social

distancing and contact tracing.

        71.     On August 5, 2021, the Centers for Disease Control and Prevention (“CDC”)

revised its guidance for COVID-19 prevention in K-12 schools. The CDC currently

recommends universal indoor masking by all students age 2 and older, staff, teachers, and

visitors to K-12 schools, regardless of vaccination status.

        72.     In addition to universal indoor masking, CDC recommends schools maintain at

least 3 feet.

        73.     The guidance emphasizes that implementing layered prevention strategies (e.g.

using multiple prevention strategies together consistently) to protect students, teachers, staff,

visitors, and other members of their households and support in-person learning because many

schools serve children under the age of 12 who are not eligible for vaccination at this time, like

Defendant who serve students ages 5 - 21.

        74.     Additionally, the American Academy of Pediatrics (“AAP”) recommends

universal masking in school for all students older than 2 years and all school staff (unless

medical or developmental conditions prohibit use). The AAP reminds the public and education

decision-makers, like Defendant, that “there needs to be a continued focus on keeping students

safe, since not all students will have the opportunity or be eligible to be vaccinated before the

start of the next school year.”

        75.     The AAP recommends, “Special considerations and accommodations to account

for the diversity of youth should be made, especially for populations facing inequities, including

those who are medically fragile or complex, have developmental challenges, or have




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disabilities.”

        76.      Defendant’s own County Health Department reversed course and is now

recommending that all students be masked in schools this Fall. See

https://buckscounty.gov/CivicAlerts.aspx?AID=168&fbclid=IwAR13KF6W-5nB6MhY9aPZMl-

5DvpfJTp_LGfyzl2c8mD4DLDp8ZwCYBe2OnI. That reversal took place over the course of

approximately two days, and coincided with the news that in Georgia, where the governor has

not mandated masks, there have been four thousand cases of COVID-19 in the metro Atlanta

area alone.

        77.      On August 25, 2021, Pennsylvania’s Governor Tom Wolf requested that the

General Assembly be brought back into session to pass legislation to require schools and

childcare centers to have students and staff wear masks indoors due to the rise of the Delta

variant.

        78.      Defendant held an emergency school board meeting on August 25, 2021,

regarding the health and safety plan.

        79.      Defendant’s Superintendent proposed a revised health and safety plan which

includes universal indoor masking in buildings and transportation, contact tracing, and other

mitigation measures. See Exhibit B, The Superintendent’s proposed health and safety plan dated

August 25, 2021.

        80.      The School Board refused to approve their own Superintendent’s

recommendation and refused to approve the August 25, 2021 revised health and safety plan.

        81.      The July 27, 2021 health and safety plan, which predates the new guidance issued

because of the increase in COVID cases due to the Delta variant of COVID-19, remains in effect

for the first day of school, August 30, 2021.




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        82.      By beginning the school year on August 30, 2021, with the July 27, 2021 health

and safety plan in place, Defendant is failing to provide reasonable accommodations to each

Plaintiff.

        83.      By beginning the school year on August 30, 2021, with the July 27, 2021 health

and safety plan in place, Defendant will be discriminating against each Plaintiff by acting with

deliberate indifference to provide reasonable accommodations for each Plaintiff’s disability.

                         COUNT I: VIOLATIONS OF TITLE II OF
                        THE AMERICANS WITH DISABILITIES ACT

        84.      Plaintiffs hereby incorporate each and every allegation in the preceding

paragraphs of this Complaint as if set forth fully herein.

        85.      Defendant is a public school district and, thus, a “public accommodation” under

Title II of the ADA. See 42 U.S.C. § 12181.

        86.      Title II of the ADA states “no qualified individual with a disability shall, by

reason of such disability, be excluded from participation in or be denied the benefits of services,

programs, or activities of a public entity, or be subjected to discrimination by any such entity.”

42 U.S.C. § 12132.

        87.      Public entity includes “ any State or local government; [and] and department,

agency, special purposed district, or other instrumentality of a State or States or local

government . . . .” 42 U.S.C. § 12131(1).

        88.      The ADA specifically defines discrimination on the basis of disability to include

“the imposition or application of eligibility criteria that screen out or tend to screen out an

individual with a disability or any class of individuals with disabilities from fully and equally

enjoying any goods, services, privileges, advantages, or accommodations . . ..” See 42 U.S.C. §

12182(b)(2)(A)(i).



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        89.     The ADA prohibits discrimination that includes “ a failure to make reasonable

modifications in policies, practices, or procedures, when such modifications are necessary to

afford such goods, services, facilities, privileges, advantages, or accommodations to individuals

with disabilities...” See 42 U.S.C. § 12182(b)(2)(A)(ii).

        90.     “Deliberate indifference may be established where harm occurred on numerous

previous occasions and officials failed to respond appropriately, or where risk of harm is great

and obvious.” Carter v. City of Philadelphia, 181 F.3d 339, 357 (3d Cir. 1999) (citing Sample v.

Diecks, 885 F.2d 1099, 1118 (3d Cir. 1989)).

        91.     The “deliberate indifference standard” requires “(1) knowledge that a federally

protected right is substantially likely to be violated . . . and (2) failure to act despite that

knowledge.” S.H. v. Lower Merion, 729 F.3d at 265 (citing Duvall v. County of Kitsap, 260 F.3d

1124, 1139 (9th Cir. 2001)). “Deliberate indifference ‘does not require a showing of personal ill

will or animosity toward the disabled person.’” S.H. v. Lower Merion Sch. Dist., 729 F.3d 248,

263 (3d Cir. 2013) (quoting Meagley v. City of Little Rock, 639 F.3d 384, 389 (8th Cir. 2011)

(quoting Barber v. Colo. Dep't of Revenue, 562 F.3d 1222, 1228-29 (10th Cir. 2009)).

        92.     Risk of harm to Plaintiffs (and all unvaccinated children in the District) is great

and obvious.

        93.     Defendant, by refusing to follow the proposed health and safety plan proposed by

its own Superintendent, is refusing to provide reasonable accommodations to allow Plaintiffs to

receive their education because of their disabilities.

        94.     Defendant has thereby discriminated against Plaintiffs in violation of the

Americans with Disabilities Act.

        95.     Defendant’s violation of the ADA will cause Plaintiffs the irreparable loss of their




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educational placement plus reasonable attorney’s fees, costs, and interest.

       WHEREFORE, Plaintiffs request the following relief:

       a)       A permanent injunction requiring Defendant to implement a Covid-19 Health and
                Safety Plan that includes all CDC recommendations;

       b)       Reimbursement for expert witness costs and fees;

       c)       An award of attorneys’ fees and costs; and

       d)       Such other and further relief as appears reasonable and just.

                COUNT II: SECTION 504 OF THE REHABILITATION ACT

       96.      Plaintiffs hereby incorporate each and every allegation in the preceding

paragraphs of this Complaint as if set forth fully herein.

       97.      Under Section 504, no otherwise qualified individual with a disability shall, solely

by reason of her or his disability, be excluded from the participation in, be denied the benefits of,

or be subjected to discrimination under any program or activity receiving Federal financial

assistance. 29 U.S.C.S. § 794.

       98.      As detailed above, Defendant has intentionally, purposefully, and/or with

deliberate indifference violated the rights of Plaintiffs secured by Section 504 of the

Rehabilitation Act of 1973, as amended, 29 U.S.C. § 794 and 34 C.F.R. § 104.4, by subjecting

Plaintiffs to discrimination on the basis of their disabilities or by excluding and/or denying

Plaintiffs from participating in, or benefiting from, the Defendant’s programs, actives, and

services.

       99.      Defendant is a recipient of Federal money.

       100.     Defendant’s sovereign immunity under the Eleventh Amendment is explicitly

abrogated pursuant to 42 U.S.C.S. §2000d-7. “A State shall not be immune under the Eleventh

Amendment of the Constitution of the United States from suit in Federal court for a violation of



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section 504 of the Rehabilitation Act of 1973 [29 USCS §794] . . . .” 42 U.S.C.S. §2000d-

7(a)(1).

       101.    In claims against a State for violating Section 504, “remedies (including remedies

both at law and in equity) are available for such a violation to the same extent as such remedies

are available for such a violation in the suit against any public or private entity other than a

state.” 42 U.S.C.S. §2000d-7(a)(2).

       WHEREFORE, Plaintiffs request the following relief:

            a) Permanent injunction and order directing the School Board to follow the CDC
               guidelines at all times regarding COVID-19 mitigation measures in schools;

            b) Reimbursement for expert witness fees;

            c) An award of attorneys’ fees and costs; and

            d) Such other and further relief as appears reasonable and just.


Dated: 27 August 2021                                  Respectfully submitted,




                                                       ___________________________

                                                       Kathleen Metcalfe (PA ID 89135)
                                                       Adrianna Cherkas (PA ID 209000)
                                                       Raffaele & Associates, LLC
                                                       1230 County Line Road
                                                       Bryn Mawr, PA 19010
                                                       T: (610) 922-4200
                                                       F: (610) 646-0888
                                                       Katie@MyKidsLawyer.com
                                                       Adrianna@MyKidsLawyer.com

                                                       Counsel for Plaintiffs




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                                                         VERIFICATION

                     I, C.G., am the Plaintiff in this action and hereby verify that the statements made in the

            foregoing Emergency Motion for Preliminary Injunction are true and correct to the best of my

            knowledge, information and belief.

                     I understand that the statements in said Emergency Motion for Preliminary Injunction are

            made subject to the penalties of Fed. R. Civ. P. 11, relating to false statements made in

            pleadings, and 18 Pa. C.S. §4904, relating to falsification to authorities.



            8/27/2021
            ______________________________                         _______________________________
            Date                                                   C.G.
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                        Case 2:21-cv-03846-PD Document 1 Filed 08/27/21 Page 17 of 44




                                                         VERIFICATION

                     I, C.G., am the Plaintiff in this action and hereby verify that the statements made in the

            foregoing Emergency Motion for Preliminary Injunction are true and correct to the best of my

            knowledge, information and belief.

                     I understand that the statements in said Emergency Motion for Preliminary Injunction are

            made subject to the penalties of Fed. R. Civ. P. 11, relating to false statements made in

            pleadings, and 18 Pa. C.S. §4904, relating to falsification to authorities.




            8/27/2021
            ______________________________                         _______________________________
            Date                                                   C.G.
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                                                         VERIFICATION

                     I, G.H., am the Plaintiff in this action and hereby verify that the statements made in the

            foregoing Emergency Motion for Preliminary Injunction are true and correct to the best of my

            knowledge, information and belief.

                     I understand that the statements in said Emergency Motion for Preliminary Injunction are

            made subject to the penalties of Fed. R. Civ. P. 11, relating to false statements made in

            pleadings, and 18 Pa. C.S. §4904, relating to falsification to authorities.



            8/27/2021
            ______________________________                         _______________________________
            Date                                                   G.H.
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                                                        VERIFICATION

                     I, H.T., am the Plaintiff in this action and hereby verify that the statements made in the

            foregoing Emergency Motion for Preliminary Injunction are true and correct to the best of my

            knowledge, information and belief.

                     I understand that the statements in said Emergency Motion for Preliminary Injunction are

            made subject to the penalties of Fed. R. Civ. P. 11, relating to false statements made in

            pleadings, and 18 Pa. C.S. §4904, relating to falsification to authorities.
            8/27/2021
            ______________________________                         _______________________________
            Date                                                   H.T.
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                                         VERIFICATION

       I, J.G., am the Plaintiff in this action and hereby verify that the statements made in the

foregoing Emergency Motion for Preliminary Injunction are true and correct to the best of my

knowledge, information and belief.

       I understand that the statements in said Emergency Motion for Preliminary Injunction are

made subject to the penalties of Fed. R. Civ. P. 11, relating to false statements made in

pleadings, and 18 Pa. C.S. §4904, relating to falsification to authorities.

.
   27 August 2021
______________________________                         _______________________________
Date                                                   J.G.
DocuSign Envelope ID: 25567E77-D8D3-488C-A7B5-5172AF863C08
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                                                         VERIFICATION

                     I, J.O., am the Plaintiff in this action and hereby verify that the statements made in the

            foregoing Emergency Motion for Preliminary Injunction are true and correct to the best of my

            knowledge, information and belief.

                     I understand that the statements in said Emergency Motion for Preliminary Injunction are

            made subject to the penalties of Fed. R. Civ. P. 11, relating to false statements made in

            pleadings, and 18 Pa. C.S. §4904, relating to falsification to authorities.
             8/27/2021
            ______________________________                         _______________________________
            Date                                                   J.O.
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                     I, J.U., am the Plaintiff in this action and hereby verify that the statements made in the

            foregoing Emergency Motion for Preliminary Injunction are true and correct to the best of my

            knowledge, information and belief.

                     I understand that the statements in said Emergency Motion for Preliminary Injunction are

            made subject to the penalties of Fed. R. Civ. P. 11, relating to false statements made in

            pleadings, and 18 Pa. C.S. §4904, relating to falsification to authorities.

            ______________________________                   _______________________________
            Date                                                    J.U.
DocuSign Envelope ID: 759BAD46-C3B0-4184-973E-28170D29A630
                        Case 2:21-cv-03846-PD Document 1 Filed 08/27/21 Page 23 of 44




                                                         VERIFICATION

                     I, K.C., am the Plaintiff in this action and hereby verify that the statements made in the

            foregoing Emergency Motion for Preliminary Injunction are true and correct to the best of my

            knowledge, information and belief.

                     I understand that the statements in said Emergency Motion for Preliminary Injunction are

            made subject to the penalties of Fed. R. Civ. P. 11, relating to false statements made in

            pleadings, and 18 Pa. C.S. §4904, relating to falsification to authorities.

             8/27/2021
            ______________________________                         _______________________________
            Date                                                   K.C.
DocuSign Envelope ID: 0584CFA5-03CC-4474-9B8E-8382C78540EC
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                                                        VERIFICATION

                     I, K.S., am the Plaintiff in this action and hereby verify that the statements made in the

            foregoing Emergency Motion for Preliminary Injunction are true and correct to the best of my

            knowledge, information and belief.

                     I understand that the statements in said Emergency Motion for Preliminary Injunction are

            made subject to the penalties of Fed. R. Civ. P. 11, relating to false statements made in

            pleadings, and 18 Pa. C.S. §4904, relating to falsification to authorities.

             8/27/2021
            ______________________________                         _______________________________
            Date                                                   K.S.
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                                         VERIFICATION

       I, L.H., am the Plaintiff in this action and hereby verify that the statements made in the

foregoing Emergency Motion for Preliminary Injunction are true and correct to the best of my

knowledge, information and belief.

       I understand that the statements in said Emergency Motion for Preliminary Injunction are

made subject to the penalties of Fed. R. Civ. P. 11, relating to false statements made in

pleadings, and 18 Pa. C.S. §4904, relating to falsification to authorities.

8/27/2021
 ______________________________                        _______________________________
Date                                                   L.H.
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                    EXHIBIT A




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Health and Safety Plan Summary: Central Bucks School District (CBSD)
Initial Effective Date:
Date of Last Review: July 27, 2021
Date of Last Revision: July 27, 2021

Introduction: CBSD operations will be implemented in the same manner as those in place prior
to the pandemic; this plan reflects exceptions to pre-pandemic operations that we will keep in
place to promote general health and safety for all students, employees and visitors as well as
remaining compliant with national, state, and local health guidance.

1. How will the LEA, to the greatest extent practicable, support prevention and
   mitigation policies in line with the most up-to-date guidance from the CDC for the
   reopening and operation of school facilities in order to continuously and safely open
   and operate schools for in-person learning?

   CBSD’s Health and Safety Plan is informed by guidance from our federal, state, and local
   authorities. These include and are not limited to the Centers for Disease Control and
   Prevention (CDC), the Pennsylvania Department of Health (PADOH), the Pennsylvania
   Department of Education (PDE), and the Bucks County Health Department (BCHD).

   CBSD will continue to work in coordination with these agencies and our local partners to
   develop and refine expectations that meet all requirements.

   CBSD will revise this plan as necessary, based on changing guidance at any of these levels,
   at the required frequency. Such changes will be communicated to all stakeholders.
   Additionally, CBSD will monitor the recommendations of federal, state, and local authorities
   and make adjustments as necessary for all curricular, extra-curricular, and co-curricular
   programs including travel/field trips.


2. How will the LEA ensure continuity of services, including but not limited to
   services to address the students’ academic needs, and students’ and staff
   members’ social, emotional, mental health, and other needs, which may include
   student health and food services?

   CBSD will continue to ensure safe learning and working environments for all students and
   staff.

   CBSD will continue to provide in-person instruction during the 2021-22 school year.
   Based on public health conditions and any related mandates/requirements, CBSD will
   remain positioned to quickly pivot between in-person and online instruction.




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   CBSD will continue to ensure all students receive instruction that meets state and federal
   standards and have the necessary supports for success, including access to technology and
   connectivity.

   CBSD will continue to offer a wide array of social and emotional wellness and health
   supports, including:
   • access to licensed social workers, counselors, school psychologists, board certified
      behavior analysts, and administrators
   • delivery of evidence-based SEL program for K-6 students
   • resources for staff such as the Employee Assistance Plan provided through Penn
      Behavioral Health
   • supports to meet needs of special populations, through the IEP/504 process and/or
      through our multi-tiered, multi-domain system of support
   • access to training, time, support, and flexibility necessary for staff to prepare for
      successful instruction.

   CBSD will provide proactive, clear communication to all families and staff.

3. Use the table below to explain how the LEA will maintain the health and safety of
   students, educators, and other staff and the extent to which it has adopted
   policies, and a description of any such policy on each of the following safety
   recommendations established by the CDC.

 ARP ESSER
                           Strategies, Policies, and Procedures
 Requirement
 a. Universal and          No federal, state, or local health authority requires face coverings
    correct wearing of     indoors or outdoors. Face coverings will be optional K-12. The
    masks;                 district commits to revisiting its plan at each meeting of the board of
                           directors, guided by the recommendations of the local department
                           of health and state department of health, and in conjunction with the
                           most recent data and vaccine availability/eligibility in our area. If
                           directed to do so by the county health department, the district does
                           reserve the right to require masking if incidence and/or positivity
                           rates rise to a level that requires this measure. Such decisions will
                           be made in consultation with the BCHD.

 b. Modifying facilities   CBSD will rely on best practices, informed by federal, state, and
    to allow for           local guidance, to design and implement high-quality, student-
    physical distancing    centered instructional environments. CBSD will continue to rely on
    (e.g., use of          the BCHD’s guidance to design safe instructional and workspaces
    cohorts/podding);      for all individuals. Specifically, physical distancing measures will
                           continue to be maximized to the greatest extent possible, and
                           where it is practical to do so. This includes, but is not limited to the
                           following:

                                   a. Maintaining a minimum of three feet of separation (to the
                                      extent possible) in classrooms




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 ARP ESSER
                          Strategies, Policies, and Procedures
 Requirement
                                 b. Maintaining distancing measures in hallways, including
                                    to the extent possible one way halls, and maintaining
                                    spacing while moving throughout the building
                                 c. School cafeterias will return to normal operations;
                                    however, in K-6, seating charts will be maintained

 c. Handwashing and       Handwashing and respiratory etiquette will continue to be promoted.
    respiratory           Instructional signs regarding appropriate handwashing and
    etiquette;            respiratory etiquette will continue to be strategically placed in
                          appropriate spaces.

                          All individuals will continue to be encouraged and reminded to
                          sanitize or wash their hands on a frequent basis. Hand sanitizer will
                          continue to be made available in all common areas, hallways,
                          and/or lobby areas where sinks for handwashing are not available,
                          in order to encourage frequent use. CBSD will continue to post
                          signs in highly visible locations that promote everyday protective
                          measures/hygiene and how to stop the spread of germs. CBSD will
                          continue to include proper personal hygiene in program curricula.

 d. Cleaning and          Established cleaning and ventilation protocols will continue to be
    maintaining           implemented during the 2021-2022 school year.
    healthy facilities,
    including             All cleaning products are approved by the EPA for COVID-19
    improving             mitigation. CBSD will continue to follow proper cleaning and
    ventilation;          disinfection protocols following CDC, EPA, and manufacturer
                          guidelines.

                             •   Sanitizing wipes will continue to be provided in classrooms
                                 and high traffic areas.
                             •   Daily cleaning and sanitization of high touch surfaces,
                                 classrooms and desktops will continue during the 2021-2022
                                 school year.

                          Hand sanitizing stations will continue to be maintained throughout
                          all buildings.

 e. Contact tracing in    CBSD will continue to work in partnership with the BCHD for all
    combination with      COVID-19-related case investigation and contact tracing.
    isolation and
    quarantine, in        Per the BCHD, as of June 19, 2021:
    collaboration with       • The BCHD will no longer require individuals to report
    the State and local          positive COVID-19 test results or exposure to a positive
    health                       case.
    departments;             • The BCHD will no longer require CBSD to report positive
                                 COVID-19 test results of individuals to the BCHD.




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 ARP ESSER
                           Strategies, Policies, and Procedures
 Requirement
                              •   Local COVID-19 testing laboratories will continue to report
                                  positive COVID-19 test results to the BCHD through the
                                  Pennsylvania National Electronic Disease Surveillance
                                  System (PA-NEDSS).
                              •   CBSD will consult with the BCHD in the event of any public
                                  health-related questions or concerns for guidance. This
                                  includes COVID-19.
                              •   The BCHD may recommend temporary disease mitigation
                                  strategies (such as increased physical distancing, masking,
                                  etc.). If BCHD were to make a targeted/temporary
                                  recommendation for mitigation, CBSD would communicate
                                  the recommendation to those directly involved.
                              •   The BCHD will no longer issue isolation or quarantine orders
                                  related to COVID-19.
                              •   The BCHD will not require CBSD to notify close contacts of
                                  any positive case. As such, no notifications will be made.
                              •   The BCHD will not require CBSD to notify any individual,
                                  classroom, school, or community of any positive case of
                                  COVID-19. As such, no such communications will be sent.


 f.   Diagnostic and       At the recommendation of the BCHD, CBSD will no longer require
      screening testing;   individuals to attest formally to symptom tracking for COVID-19
                           upon entering district buildings.

                           At the recommendation of the BCHD, CBSD will no longer require
                           contractors to complete the daily close contact tracking form.
                           CBSD will instead regularly communicate best practices for health
                           and personal hygiene to all stakeholders to reinforce healthy
                           instructional and work environments.

                           The BCHD is no longer offering free COVID-19 testing for school
                           stakeholders. The BCHD recommends that CBSD refer any
                           individual in need of a COVID-19 test to a medical health provider.

 g. Efforts to provide     CBSD will continue to partner with federal, state, local, and health
    vaccinations to        care agencies regarding opportunities to receive the COVID-19
    school                 vaccination.
    communities;
                           CBSD will collaborate with local pharmacies and share vaccination
                           opportunities with eligible students and staff.

 h. Appropriate            CBSD is a high-quality provider of services for individuals with
    accommodations         disabilities. The district will continue to meet those needs through
    for students with      the IEP/504 process and the multi-tiered, multi-domain system of
    disabilities with      support model. The district will continue to design and follow any
    respect to health      individualized health and safety plan for the students we serve.



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 ARP ESSER
                          Strategies, Policies, and Procedures
 Requirement
    and safety            CBSD will continue to train staff and contractors on Universal
    policies;             Precautions.

                          CBSD will communicate best practices for health and personal
                          hygiene to all stakeholders to reinforce healthy instructional and
                          work environments.

                          CBSD will continue to partner with federal, state, local, and health
                          care agencies to promote and offer opportunities to receive the
                          COVID-19 vaccination.

 i.   Coordination with   CBSD will rely on best practices, informed by federal, state, and
      state and local     local guidance, to design and implement high-quality, student-
      health officials.   centered instructional environments.

                          Specifically, CBSD will rely on local health authority guidance to
                          design safe instructional and workspaces for all individuals.

                          CBSD will continue to participate in discussion forums and planning
                          with federal, state, and local health authorities, and among local
                          school entities.




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Health and Safety Plan Governing Body Affirmation Statement

The Board of Directors/Trustees for the Central Bucks School District reviewed and approved
the Health and Safety Plan on July 27, 2021.


The plan approved by a vote of:

              Yes

              No



Affirmed on: July 27, 2021


By:




(Signature* of Board President)




(Print Name of Board President)



*Electronic signatures on this document are acceptable using one of the two methods detailed
below.

Option A: The use of actual signatures is encouraged whenever possible. This method requires
that the document be printed, signed, scanned, and then submitted.

Option B: If printing and scanning are not possible, add an electronic signature using the
resident Microsoft Office product signature option, which is free to everyone, no installation or
purchase needed.




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                       EXHIBIT B
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Health and Safety Plan Summary: Central Bucks School District (CBSD)
Initial Effective Date: August 18, 2021
Date of Last Review: August 23, 2021
Date of Last Revision: August 23, 2021

Introduction: CBSD operations will be implemented in the same manner as those in place prior
to the pandemic; this plan reflects exceptions to pre-pandemic operations that we will keep in
place to promote general health and safety for all students, employees, and visitors as well as
remaining compliant with national, state, and local health guidance.

1. How will the LEA, to the greatest extent practicable, support prevention and
   mitigation policies in line with the most up-to-date guidance from the CDC for the
   reopening and operation of school facilities in order to continuously and safely open
   and operate schools for in-person learning?

   CBSD’s Health and Safety Plan is informed by guidance from our federal, state, and local
   authorities. These include and are not limited to the Centers for Disease Control and
   Prevention (CDC), the Pennsylvania Department of Health (PADOH), the Pennsylvania
   Department of Education (PDE), and the Bucks County Health Department (BCHD).

   CBSD will continue to work in coordination with these agencies and our local partners to
   develop and refine expectations that meet all requirements.

   CBSD will revise this plan as necessary, based on changing guidance at any of these levels,
   at the required frequency. Such changes will be communicated to all stakeholders.
   Additionally, CBSD will monitor the recommendations of federal, state, and local authorities
   and make adjustments as necessary for all curricular, extra-curricular, and co-curricular
   programs including travel/field trips.


2. How will the LEA ensure continuity of services, including but not limited to
   services to address the students’ academic needs, and students’ and staff
   members’ social, emotional, mental health, and other needs, which may include
   student health and food services?

   CBSD will continue to ensure safe learning and working environments for all students and
   staff.

   CBSD will continue to provide in-person instruction during the 2021-22 school year.
   Based on public health conditions and any related mandates/requirements, CBSD will
   remain positioned to quickly pivot between in-person and online instruction.

   CBSD will continue to ensure all students receive instruction that meets state and federal
   standards and have the necessary supports for success, including access to technology and
   connectivity.



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   CBSD will continue to offer a wide array of social and emotional wellness and health
   supports, including:
   • access to licensed social workers, counselors, school psychologists, board certified
      behavior analysts, and administrators
   • delivery of evidence-based SEL program for K-6 students
   • resources for staff such as the Employee Assistance Plan provided through Penn
      Behavioral Health
   • supports to meet needs of special populations, through the IEP/504 process and/or
      through our multi-tiered, multi-domain system of support
   • access to training, time, support, and flexibility necessary for staff to prepare for
      successful instruction.

   The vaccination status of a person is private; therefore, staff members will not ask, solicit, or
   engage in discussion around the vaccination status of another adult or student. However, a
   parent may offer proof of vaccination to their School Nurse to be added as part of their
   child’s health record or to qualify for a shorter quarantine time in the event that a student is
   identified as a close contact.

   CBSD will provide proactive, clear communication to all families and staff.

3. Use the table below to explain how the LEA will maintain the health and safety of
   students, educators, and other staff and the extent to which it has adopted
   policies, and a description of any such policy on each of the following safety
   recommendations established by the CDC.

 ARP ESSER
                            Strategies, Policies, and Procedures
 Requirement
 a. Universal and           Central Bucks School District’s masking strategies are in alignment
    correct wearing of      with the CDC, PADOH, and BCHD. The goal of our masking
    masks;                  strategies is to minimize the spread of COVID-19 and allow full-day,
                            five-day in-person instruction for students.

                            The level of COVID-19 local transmission and the percent of
                            vaccinations may become a factor in making changes to the
                            masking strategies enacted.

                            The plan that follows is tiered to demonstrate safety protocols for
                            when masks are required and when they are optional. Effective
                            upon the approval of this Health & Safety Plan, CBSD schools
                            will require masks. Depending on levels of transmission and
                            percentage of community vaccination, the BCHD may advise that
                            CBSD may move into a “mask optional” mode. CBSD will
                            communicate with all staff and families if and when that should
                            happen.

                            During Times of REQUIRED MASKING:




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 ARP ESSER
                        Strategies, Policies, and Procedures
 Requirement
                        •   All students, staff, and visiting guests, regardless of vaccination
                            status, are required to wear a mask WHILE INDOORS on district
                            grounds.
                        •   Exceptions:
                            o “Per CDC guidance, individuals who are fully vaccinated no
                                 longer need to wear masks or physically distance when
                                 participating in sports and extracurricular activities” (Letter
                                 from BCHD, August 23, 2021).
                            o While eating, drinking, or snacking (during such times, the
                                 mask may be removed and then put back in place when
                                 finished).
                            o While working in isolation within an enclosed office or
                                 classroom.
                        •   Masked students who are 3 feet or more apart from a confirmed
                            positive COVID-19 case will not be considered close contacts
                            and therefore will not be reported to BCHD or required to
                            quarantine.
                        •   Students, staff, and visiting guests, regardless of vaccination
                            status, will NOT be required to mask while outside on district
                            grounds. This applies to outdoor times during the instructional
                            day (i.e., recess, PE classes, etc.), sports, extra-and co-
                            curricular meetings, activities, and events. Masking outdoors is
                            always optional.
                        •   All students, staff, and visiting guests, regardless of vaccination
                            status, will be required to mask while on school buses.
                        •   The correct wearing of masks includes covering both the nose
                            and the mouth.
                        •   Face shields do not qualify as face masks.

                        NOTE: CBSD will accept mask exemptions for students who:
                        • Complete the CBSD Student Mask Exemption Form
                        • The form is signed by a medical physician
                        • The medical physician indicates the medical reason why the
                          student cannot wear a mask.

                        During Times of MASK OPTIONAL:
                        • “Per the CDC order on wearing masks on public transportation,
                           regardless of the school mask policy, masks are required to be
                           worn by passengers and drivers on school buses” (Letter from
                           BCHD, August 23, 2021). Therefore, even when CBSD is “mask
                           optional” all students, staff, and visiting guests must wear a
                           mask on school buses until the CDC order is changed or
                           revoked.
                        • Any student exhibiting symptoms in school will be masked by
                           the nurse. If a parent of a symptomatic student does not want
                           that student to mask, that student must be picked up by the
                           parent, and may not return to school until they are symptom free
                           and fever free for 24 hours without medication.



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 ARP ESSER
                           Strategies, Policies, and Procedures
 Requirement
                           •   Students who are able and choose to mask, and who are 3 feet
                               or more apart from a confirmed positive COVID-19 case, will not
                               be considered close contacts; therefore, they will not be reported
                               to BCHD and they will not be required to quarantine.

 b. Modifying facilities   CBSD will rely on best practices, informed by federal, state, and
    to allow for           local guidance, to design and implement high-quality, student-
    physical distancing    centered instructional environments. CBSD will continue to rely on
    (e.g., use of          the BCHD’s guidance to design safe instructional environments and
    cohorts/podding);      workspaces for all individuals. Specifically, physical distancing
                           measures will continue to be maximized to the greatest extent
                           possible, and where it is practical to do so. This includes, but is not
                           limited to the following:

                                   a. Maintaining a minimum of three feet of separation
                                      (wherever possible) in classrooms
                                   b. Maintaining distancing measures in hallways, including
                                      wherever possible one way halls, and maintaining
                                      spacing while moving throughout the building
                                   c. School cafeterias will return to normal operations;
                                      however, in K-6, seating charts will be maintained
                                   d. Seating charts will be established on all buses.
                                   e. Bus riders from the same household will be seated
                                      together when possible.

 c. Handwashing and        Handwashing and respiratory etiquette will continue to be promoted.
    respiratory            Instructional signs regarding appropriate handwashing and
    etiquette;             respiratory etiquette will continue to be strategically placed in
                           appropriate spaces.

                           All individuals will continue to be encouraged and reminded to
                           sanitize or wash their hands on a frequent basis. Hand sanitizer will
                           continue to be made available in all common areas, hallways,
                           and/or lobby areas where sinks for handwashing are not available,
                           in order to encourage frequent use. CBSD will continue to post
                           signs in highly visible locations that promote everyday protective
                           measures/hygiene and how to stop the spread of germs. CBSD will
                           continue to include proper personal hygiene in program curricula.

 d. Cleaning and           Established cleaning and ventilation protocols will continue to be
    maintaining            implemented during the 2021-2022 school year.
    healthy facilities,
    including              All cleaning products are approved by the EPA for COVID-19
    improving              mitigation. CBSD will continue to follow proper cleaning and
    ventilation;           disinfection protocols following CDC, EPA, and manufacturer
                           guidelines.




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 ARP ESSER
                          Strategies, Policies, and Procedures
 Requirement
                             •   Sanitizing spray will continue to be provided in classrooms
                                 and high traffic areas.
                             •   Daily cleaning and sanitization of high touch surfaces,
                                 classrooms and desktops will continue during the 2021-2022
                                 school year.

                          Hand sanitizing stations will continue to be maintained throughout
                          all buildings.

 e. Contact tracing in    CBSD will continue to work in partnership with the BCHD for all
    combination with      COVID-19-related case investigation and contact tracing.
    isolation and
    quarantine, in        CBSD strongly urges parents/guardians to report children’s
    collaboration with    confirmed cases of COVID-19 to their school’s nurse.
    the State and local
                          CBSD is required to report student and staff cases to BCHD.
    health
    departments;
                          CBSD will notify the parents/guardians of students who are in the
                          same class(es)/bus as a person who has tested positive for COVID-
                          19.

                          CBSD will report close contacts to BCHD and the parents/guardians
                          of the student. As per the CDC, K-12 students who are masked and
                          3 or more feet apart from a positive COVID-19 case will not be
                          considered close contacts and therefore will not be reported to
                          BCHD or required to quarantine.

                          In the event there is evidence of potential COVID-19 spread within a
                          school, BCHD will advise whether further mitigation strategies
                          should be taken. “Targeted Temporary Mitigation” (TTM) strategies
                          might include but are not limited to masking (when not already
                          mandatory), physical distancing, cleaning/disinfecting, and virtual
                          learning. These strategies will be targeted to just the affected
                          classrooms, groups, or schools/district buildings where potential
                          spread of COVID-19 is of concern. These strategies will be
                          temporary, meaning they will end when the potential spread of virus
                          in that case is expired.

                          COVID-19 Cases:
                          • An isolation area will be available in each school for students
                            exhibiting symptoms while in school.
                          • “Whether symptomatic or asymptomatic, any individual who
                            tests positive for COVID-19 must isolate for 10 days as both
                            symptomatic and asymptomatic individuals can transmit the
                            virus during that time” (Letter from BCHD, August 23, 2021). The
                            student, staff member, or visiting guest may return to school on
                            the 11th day so long as all symptoms are resolved and fever free
                            for 24 hours without medication.



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 ARP ESSER
                           Strategies, Policies, and Procedures
 Requirement

                           Close Contacts:
                            • As per the CDC, a close contact is a person who was within 6
                               feet for more than 15 minutes (Appendices | CDC).
                            • Schools will report close contacts to BCHD who will
                               recommend whether quarantine is required.
                           • CDC guidance adds the following exception to the definition of
                              close contact:
                                  o In the K–12 indoor classroom setting, the close contact
                                       definition excludes students who were within 3 to 6 feet
                                       of an infected student (laboratory-confirmed or a
                                       clinically compatible illness) where:
                                             both students were engaged in consistent and
                                                correct use of well-fitting face masks; and
                                             other K–12 school prevention strategies (such as
                                                universal and correct mask use, physical
                                                distancing, increased ventilation) were in place in
                                                the K–12 school setting.
                                  NOTE: This exception does not apply to teachers, staff, or
                                  visiting guests in the indoor classroom setting (Letter from
                                  BCHD, August 23, 2021)

                           Close Contacts who are FULLY VACCINATED and
                           ASYMPTOMATIC:
                           • Do not need to quarantine at home following an exposure (they
                               may continue to attend school in-person and participate in other
                               activities) only if they correctly wear a mask for 14 days or until
                               they receive a negative test result (Science Brief: Options to
                               Reduce Quarantine for Contacts of Persons with SARS-CoV-2
                               Infection Using Symptom Monitoring and Diagnostic Testing |
                               CDC).

                           Close Contacts who are NOT FULLY VACCINATED (regardless of
                           symptoms)
                            • Regardless of test result, will remain at home for 10 days OR 7
                               days combined with a negative test result on day 5 or later.
                            • Mask for 14 days past last known exposure (Science Brief:
                               Options to Reduce Quarantine for Contacts of Persons with
                               SARS-CoV-2 Infection Using Symptom Monitoring and
                               Diagnostic Testing | CDC).

                           CBSD strongly encourages all eligible individuals to be vaccinated.

 f.   Diagnostic and       CBSD will make COVID-19 rapid-testing available in schools for
      screening testing;   students and staff. Students may be rapid tested in school ONLY
                           with prior parent permission. If not tested in school, any individuals
                           who have symptoms consistent with COVID-19 will be referred for
                           COVID-19 testing. (Letter from BCHD, August 23, 2021)



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 ARP ESSER
                          Strategies, Policies, and Procedures
 Requirement

 g. Efforts to provide    CBSD will continue to partner with federal, state, and local health
    vaccinations to       care agencies and providers regarding opportunities to receive the
    school                COVID-19 vaccination.
    communities;
                          CBSD will collaborate with local pharmacies and share vaccination
                          opportunities with eligible students and staff.

 h. Appropriate           CBSD is a high-quality provider of services for individuals with
    accommodations        disabilities. The district will continue to meet those needs through
    for students with     the IEP/504 process and the multi-tiered, multi-domain system of
    disabilities with     support model. The district will continue to design and follow any
    respect to health     individualized health and safety plan for the students we serve.
    and safety            CBSD will continue to train staff and contractors on Universal
                          Precautions.
    policies;
                          CBSD will communicate best practices for health and personal
                          hygiene to all stakeholders to reinforce healthy instructional and
                          work environments.

                          CBSD will continue to partner with federal, state, local, and health
                          care agencies to promote and offer opportunities to receive the
                          COVID-19 vaccination.

 i.   Coordination with   CBSD will rely on best practices, informed by federal, state, and
      state and local     local guidance, to design and implement high-quality, student-
      health officials.   centered instructional environments.

                          Specifically, CBSD will rely on local health authority guidance to
                          design safe instructional and workspaces for all individuals.

                          CBSD will continue to participate in discussion forums and planning
                          with federal, state, and local health authorities, and among local
                          school entities.




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Health and Safety Plan Governing Body Affirmation Statement

The Board of Directors/Trustees for the Central Bucks School District reviewed and approved
the Health and Safety Plan on August 25, 2021.


The plan approved by a vote of:

              Yes

              No



Affirmed on: August 25, 2021


By:




(Signature* of Board President)




(Print Name of Board President)



*Electronic signatures on this document are acceptable using one of the two methods detailed
below.

Option A: The use of actual signatures is encouraged whenever possible. This method requires
that the document be printed, signed, scanned, and then submitted.

Option B: If printing and scanning are not possible, add an electronic signature using the
resident Microsoft Office product signature option, which is free to everyone, no installation or
purchase needed.




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